         Case 5:23-cv-00580-FB          Document 364        Filed 11/04/24     Page 1 of 1




                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                     SAN ANTONIO DIVISION

JULIA HUBBARD, and KAYLA                          )
GOEDINGHAUS,                                      )
                                                  )
               Plaintiffs,                        )
                                                  )
V.                                                )       CIVIL ACTION NO. SA-23-CA-580-FB
                                                  )
TRAMMELL S. CROW, JR., ET AL.,                    )
                                                  )
               Defendants.                        )

            ORDER GRANTING MOTION TO WITHDRAW AS COUNSEL
     FOR DEFENDANTS RCI HOSPITALITY HOLDINGS, INC. AND CASE GROVER

       Before the Court is the Motion to Withdraw as Counsel for Defendants RCI Hospitality

Holdings, Inc. and Case Grover, filed by attorney Holly Naehritz on October 4, 2024. (Docket no. 362).

After careful consideration, the Court is of the opinion that the motion should be granted.

       IT IS THEREFORE ORDERED that the Motion to Withdraw as Counsel for Defendants RCI

Hospitality Holdings, Inc. and Case Grover (docket no. 362) is GRANTED such that Holly Naehritz

is WITHDRAWN from this action as counsel for Defendants RCI Hospitality Holdings, Inc. and Case

Grover. Attorneys Brian Rawson and Stephanie Roark of the law firm Rawson Law PLLC will remain

as counsel for Defendants RCI Hospitality Holdings, Inc. and Case Grover.

       It is so ORDERED.

       SIGNED this 4th day of November, 2024.


                                        _________________________________________________
                                        FRED BIERY
                                        UNITED STATES DISTRICT JUDGE
